     Case 1-25-41368-jmm         Doc 44   Filed 04/29/25   Entered 04/30/25 10:19:27




April 29, 2025

To: Honorable Jil Mazer-Marino

Re: Avon Place LLC Bankruptcy Hearing, case 1-25-41368-jmm



Your honor,

We have resided for many years at Avon Place, located in Avon Connecticut. The property
has always been properly maintained by responsible management companies, that is until
Avon Place LLC purchased our community a few years past.

All things have dramatically changed for the worst unfortunately. We have many concerns,
mostly for our safety and well-being. The elevators are regularly not working, the garbage’s
often overflowing, the laundry washers are moldy and the dryers full of lint.

The on site property manager is rarely available, and never during emergencies. There have
been many fire alarms and a serious fire last year, 4/21/25, that displaced all units.
Management does not treat us with respect and often is untruthful and cannot be trusted
to follow through with requests and issues.

Other issues are lack of street lighting, enormous potholes, swimming pool maintenance,
on and off again hot water, snow/ice removal and general building maintenance, including
secure entrance/exits.

We have enjoy living at Avon Place and wish to remain happy and safe here now and in the
future. We do not have any faith that Avon Place LLC has the best interests for the
community that they serve and are responsible to, frankly we believe the opposite to be
true. We also have strong concerns our their fiscal responsibility.

Thank you for your consideration, Mary Foley and Thomas Preston 47 Avonwood Road, 107,
Avon, CT 06001
